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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

  KEITH STANSELL,                           CASE NO.:
  MARC GONSALVES,
  THOMAS HOWES, and
  JUDITH G. JANIS, CHRISTOPHER T. JANIS,
  GREER C. JANIS, MICHAEL I. JANIS,
  and JONATHAN N. JANIS

        Plaintiffs,

  vs.

  REVOLUTIONARY ARMED FORCES OF COLOMBIA (FARC);
  JUVENAL OVIDIO RICARDO PALMERA PINEDA a/k/a “Simon Trinidad”;
  NAYIBE ROJAS VALDERAMA a/k/a “Sonia”;
  JOSE ANTONIO CELIS a/k/a “Calvo”;
  JUAN DIEGO GIRALDO a/k/a “Flaco”;
  GUILLERMO LEÓN SÁENZ a/k/a “Alfonso Cano”;
  LUCIANO MARÍN a/k/a "Iván Márquez";
  VICTOR JULIO SUAREZ ROJAS, a/k/a “Jorge Briceno Suarez,” a/k/a “Mono Jojoy”;
  RODRIGO LONDOÑO ECHEVERRY a/k/a “Timochenko” a/k/a "Timoleón Jiménez";
  PEDRO ALDANA,
  JORGE TORRES VICTORIA, a/k/a "Pablo Catatumbo,"
  GUILLERMO ENRIQUE TORRES CUETER, a/k/a "Julian Conrado,"
  FELIX ANTONIO MUNOZ LASCARRO, a/k/a “Jose Lisandro Lascarro,” a/k/a "Pastor
  Alape," MILTON DE JESUS TONCEL REDONDO, a/k/a "Joaquin Gomez,"
  JOSE BENITO CABRERA CUEVAS, a/k/a "Fabian Ramirez,"
  ABELARDO CAICEDO COLORADO, a/k/a “Solis Almeida,”
  LUIS ANTONIO LOZADA, a/k/a "Carlos Antonio Lozada,"
  SIXTO ANTONIO CABANA GUILLEN, a/k/a "Domingo Bioho,"
  VICTOR RESTREPO, a/k/a "Victor Tirado," a/k/a "Rigoberto Lozano,"
  HERMILO CABRERA DIAZ, a/k/a "Bertulio,"
  ALVRO ALFONSO SERPA DIAZ, a/k/a "Felipe Rincon,”
  EDGAR LOPEZ GOMEZ, “Miller Munar Munar, a/k/a "Pacho Chino,"
  MIGUEL ANGEL PASCUAS SANTOS, a/k/a “Sargento Pascuas,” a/k/a “Humberto,”
  NOE SUAREZ ROJAS, a/k/a "German Briceno Suarez," a/k/a "Grannobles,"
  HENRY CASTELLANOS GARZON, a/k/a "Romana,"
  GENER GARCIA MOLINA, a/k/a "John Hernandez," a/k/a "Johnny 40,"
  ELMER CAVIEDES, a/k/a "Albiero Cordoba,"
  MIGUEL SANTANILLA BOTACHE, a/k/a "Gentil Duarte,"
  GILDARDO GARCIA CARDONA, a/k/a "Alviro Rojas,"
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  TOMAS MOLINA CARACAS, a/k/a "Negro Acacio,"
  EFRAIN MENDEZ, a/k/a “Guillermo,” a/k/a “Cochornea,”
  CARLOS ALBERTO GARCIA, a/k/a “Herimides Buitrago,” a/k/a "Oscar Montero”;
  NORBEI CAMARGO, a/k/a "James Patapalo,"
  ERASMO TRASLAVINA BENAVIDES, a/k/a “Ismardo Lozada,” a/k/a "Jimmy Guerrero,"
  JOSE EPINEMIO MOLINA GONZALEZ, a/k/a "Danilo Garcia,"
  JAIME COTRINO DIAZ, a/k/a "Arcesio,"
  ALONSO OLARTE LOMBANA, a/k/a “Luis Eduardo Marin,” a/k/a "Rafael Gutierrez,"
  FERNELLI RIZO CARRASCAL, a/k/a “Marco Fanfan,” a/k/a "Jurga Jurga,"
  IGNACIO LEAL GARCIA, a/k/a "Camilo," a/k/a "Tuerto,"
  LUIS EDUARDO LOPEZ MENDEZ, a/k/a "Efren Arboleda,"
  OMAR OYOLA ESTUPINAN, a/k/a "Jorge Humberto Cortes," a/k/a "JH,"
  GUSTAVO GONZALEZ SANCHEZ, a/k/a "Rambo,"
  RAFAEL CEPILLO,
  EDGAR SALGADO ARAGON, a/k/a “Rodrigo,” a/k/a “Cadete,”
  ERNESTO HURTADO PENALOSA, a/k/a “Negro Elecier,”
  EMIRO DEL CARMEN ROPERO SUAREZ, a/k/a “Ruben Zamora,” and
  LUIS EDUARDO OYOLA DIAZ, a/k/a “Esponja,”
  RODRIGO GRANDA a/k/a "Ricardo Gonzalez”;
  JAIRO ALFONSE LESMES BULLA;
  ORLAY JURADO PALOMINO;
  FRANCISCO ANTONIO CADENA COLLAZOS;
  NUBIA CALDERON DE TRUJILLO;
  OVIDIO SALINAS PEREZ;
  JORGE DAVALOS TORRES;
  EFRAIN PABLO REJO FREIRE;
  LILIANA LOPEZ PALACIOS;
  MARIA REMEDIOS GARCIA ALBERT a/k/a “Soraya” a/k/a “Irene”;
  OMAR ARTURO ZABALA PADILLA, a/k/a “Lucas Gualdron”;
  VLAUDIN RODRIGO VEGA a/k/a Carlos Vlaudin;
  GERARDO ANTONIO AGUILAR RAMIREZ a/k/a “Cesar”;
  ERMINSO CUEVAS CABRERA a/k/a “Mincho”;
  JORGE ENRIQUE RODRIGUEZ MENDIETA a/k/a “Ivan Vargas”;
  JUAN JOSE MARTINEZ VEGA a/k/a “Chiguiro”;
  NANCY CONDE RUBIO a/k/a “Doris Adriana”;
  JOSE MARIA CORREDOR IBAGUE a/k/a “El Boyaco”;
  ALEXIS FREDDY MOSQUERA-RENTERIA a/k/a “Ronald”;
  YARLEI BANOL-RAMOS a/k/a “Diana”;
  JORGE ABEL IBARGUEN-PALACIO a/k/a “Turbo”;
  CAROLINA YANAVE ROJAS;
  ANA ISABEL PENA AREVALO a/k/a “Dona Chava”
  LUZ MERY GUTIERREZ VERGARA a/k/a “Mery”
  JOSE FERNANDO ROMERO MEJIA a/k/a “El Morocho”

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  JOSUE CUESTA LEON a/k/a “El Viejo”
  MARIBEL GALLEGO RUBIO a/k/a “Maritza”
  CAMILO RUEDA GIL a/k/a “El Primo”
  ANA LEONOR TORRES a/k/a “Juliana”
  BLADIMIR CULMA SUNZ a/k/a “Vladimir”
  ALEXANDER FARFAN SUAREZ a/k/a “Enrique Gafas”;
  MARTIN CUERO;
  HELI MEJIA MENDOZA a/k/a “Martin Sombra”;
  GABRIEL CULMA;
  JOSE ARMANDO CADENA CABRERA, a/k/a “Bronco”;
  WILKIN FERNANDO LUGO a/k/a “Teofilo Florero”;
  WALTER TAPIERO a/k/a “Commander Romel”;
  WILSON URBANO LOPEZ a/k/a “Reciclo”;

        Defendants.
  ________________________________/

                                            COMPLAINT

          Plaintiffs sue Defendants and allege:

                   THE ACTION, EXCLUSIVE JURISDICTION & VENUE

  1.      This is a civil action for damages arising from acts of international terrorism committed

  by the REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or in Spanish

  FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, and its members, which

  occurred in Colombia commencing on February 13, 2003 when Plaintiffs’ aircraft was shot

  down. After a successful crash landing, the pilot, THOMAS JANIS, was shot and killed by the

  FARC. The FARC imprisoned KEITH STANSELL, MARC GONSALVES and THOMAS

  HOWES and held them hostage against their will and hidden in the Colombian jungle for over 5

  years until July 2, 2008 (1,967 days total captivity).

  2.      This action is brought pursuant to the civil remedies provisions of the Anti-Terrorism

  Act, 18 U.S.C. § 2333 which provides:


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          “(a) Action and jurisdiction.--Any national of the United States injured in his
          or her person, property, or business by reason of an act of international terrorism,
          or his or her estate, survivors, or heirs, may sue therefor in any appropriate
          district court of the United States and shall recover threefold the damages he or
          she sustains and the cost of the suit, including attorney's fees.”

  3.      Plaintiffs seek damages against a designated foreign terrorist organization (FTO), the

  FARC and select members in leadership who committed acts of international terrorism or

  conspired to commit acts of international terrorism or provided material support to the FARC.

  4.      Pursuant to 18 U.S.C. § 2338, the district courts of the United States have exclusive

  jurisdiction over this action.

  5.      Venue is proper where any Plaintiff resides pursuant to 18 U.S.C. § 2334(a), therefore

  venue is proper in this district because Plaintiffs KEITH STANSELL, THOMAS HOWES,

  and JONATHAN JANIS reside in the Middle District of Florida. Defendants are all alien

  nationals and may be sued in any district pursuant to 28 U.S.C. § 1391(d).

  6.      This action does not allege any claims seeking imprisonment or criminal punishment

  against any defendant, nor does any defendant face any loss of liberty in this civil action, nor

  is any defendant entitled to provision of counsel in this civil action under the Criminal Justice

  Act, 18 U.S.C. § 3006A, or the 6th Amendment to the U.S. Constitution.

                                         THE PLAINTIFFS

  7.      Plaintiff KEITH STANSELL is a U.S. citizen residing in Manatee County, Florida who

  was injured by repeated acts of international terrorism occurring from February 13, 2003 and

  continuing through the date of his rescue on July 2, 2008. Keith Stansell is a former United

  States Marine and was the mission commander for the February 13, 2003 counter narcotics

  mission.

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  8.     Plaintiff MARC GONSALVES is a U.S. citizen residing in Connecticut who was

  injured by repeated acts of international terrorism occurring from February 13, 2003 and

  continuing through the date of his rescue on July 2, 2008. Marc Gonsalves is an electronic

  surveillance systems specialist and was the chief counter narcotics analyst and collection officer

  on the February 13, 2003 mission.

  9.      Plaintiff THOMAS HOWES is a U.S. citizen residing in Brevard County, Florida who

  was injured by repeated acts of international terrorism occurring from February 13, 2003 and

  continuing through the date of his rescue on July 2, 2008. Thomas Howes is a highly

  experienced pilot and a specialist in the counter narcotics mission.

  10.     Plaintiff, JUDITH G. JANIS, is a U.S. citizen and resident of Alabama and is the

  surviving spouse and personal representative of the Estate of Thomas J. Janis.

  11.     Plaintiff CHRISTOPHER T. JANIS is a U.S. citizen and resident of New York State

  and the surviving son of Thomas J. Janis. Christopher Janis is on active duty with the United

  States military.

  12.     Plaintiff GREER C. JANIS is a U.S. citizen and resident of Virginia and the surviving

  daughter of Thomas J. Janis.

  13.     Plaintiff MICHAEL I. JANIS is a U.S. citizen and resident of Alabama and the

  surviving son of Thomas J. Janis. Michael Janis is on active duty with the United States

  military.

  14.     Plaintiff, JONATHAN N. JANIS is a U.S. citizen and resident of Orange County

  Florida and the surviving son of Thomas J. Janis.



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  15.      At all times material, decedent, Thomas J. Janis was a citizen of the United States. The

  FARC murdered Thomas Janis on February 13, 2003.

                                           DEFENDANTS

  16.      Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

  in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a foreign

  terrorist organization subject to the jurisdiction of this Court. Defendant, FARC is a

  designated foreign terrorist organization pursuant to Title 8, United States Code, Section

  1189 originally designated on October 8, 1997 and re-designated on September 5, 2001.

  17.      Defendant, JUVENAL OVIDIO RICARDO PALMERA PINEDA a/k/a “Simon

  Trinidad” is incarcerated in federal prison in Colorado after being convicted in federal court

  in the District of Columbia of conspiracy to commit hostage taking on the Plaintiffs and is

  subject to the jurisdiction of this Court.

  18.      Defendant NAYIBE ROJAS VALDERAMA a/k/a “Sonia” was a finance officer for

  the FARC and is currently incarcerated in the U.S. after being convicted of narcotics

  trafficking in federal court in the District of Columbia and is subject to the jurisdiction of this

  Court.

  19.      Defendant JOSE ANTONIO CELIS a/k/a “Calvo” was a FARC drug trafficker and is

  currently incarcerated in the U.S. after being convicted of narcotics trafficking in federal

  court in the District of Columbia and is subject to the jurisdiction of this Court.

  20.      Defendant JUAN DIEGO GIRALDO a/k/a “Flaco” worked with Sonia and Calvo to

  purchase and transport cocaine, bought equipment for the FARC’s cocaine production

  operation, and assisted Sonia and the FARC in all aspects of cocaine production and sale, and

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  is currently incarcerated in the U.S. after being convicted of narcotics trafficking in federal

  court in the District of Columbia and is subject to the jurisdiction of this Court.

  21.     Defendant GUILLERMO LEÓN SÁENZ a/k/a “Alfonso Cano”, is currently the main

  leader of the FARC’s Secretariat and is a fugitive hiding in Colombia and/or Venezuela and

  is subject to the jurisdiction of this Court.

  22.     Defendant LUCIANO MARÍN a/k/a "Iván Márquez" is a member of the FARC’s

  Secretariat and is a fugitive hiding in Colombia and/or Venezuela and is subject to the

  jurisdiction of this Court.

  23.     Defendant VICTOR JULIO SUAREZ ROJAS, a/k/a “Jorge Briceno Suarez,” a/k/a

  “Mono Jojoy,” is a member of the FARC’s Secretariat and is a fugitive hiding in Colombia

  and/or Venezuela and is subject to the jurisdiction of this Court.

  24.     Defendant RODRIGO LONDOÑO ECHEVERRY a/k/a “Timochenko” a/k/a

  "Timoleón Jiménez" is a member of the FARC’s Secretariat and is a fugitive hiding in

  Colombia and/or Venezuela and is subject to the jurisdiction of this Court.

  25.     The following Defendants are current or former members of the FARC’s Estado

  Mayor and are all fugitives hiding in Colombia and/or Venezuela and are all subject to the

  jurisdiction of this Court:

          a)   PEDRO ALDANA,
          b)   JORGE TORRES VICTORIA, a/k/a "Pablo Catatumbo,"
          c)   GUILLERMO ENRIQUE TORRES CUETER, a/k/a "Julian Conrado,"
          d)   FELIX ANTONIO MUNOZ LASCARRO, a/k/a “Jose Lisandro Lascarro,” a/k/a
               "Pastor Alape,"
          e)   MILTON DE JESUS TONCEL REDONDO, a/k/a "Joaquin Gomez,"
          f)   JOSE BENITO CABRERA CUEVAS, a/k/a "Fabian Ramirez,"
          g)   ABELARDO CAICEDO COLORADO, a/k/a “Solis Almeida,”
          h)   LUIS ANTONIO LOZADA, a/k/a "Carlos Antonio Lozada,"

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           i) SIXTO ANTONIO CABANA GUILLEN, a/k/a "Domingo Bioho,"
           j) VICTOR RESTREPO, a/k/a "Victor Tirado," a/k/a "Rigoberto Lozano,"
           k) HERMILO CABRERA DIAZ, a/k/a "Bertulio,"
           l) ALVRO ALFONSO SERPA DIAZ, a/k/a "Felipe Rincon,”
           m) EDGAR LOPEZ GOMEZ, “Miller Munar Munar, a/k/a "Pacho Chino,"
           n) MIGUEL ANGEL PASCUAS SANTOS, a/k/a “Sargento Pascuas,” a/k/a
              “Humberto,”
           o) NOE SUAREZ ROJAS, a/k/a "German Briceno Suarez," a/k/a "Grannobles,"
           p) HENRY CASTELLANOS GARZON, a/k/a "Romana,"

  26.      The following Defendants are current or former FARC Front Commanders and are all

  fugitives hiding in Colombia and/or Venezuela and are all subject to the jurisdiction of this

  Court:

           a)   GENER GARCIA MOLINA, a/k/a "John Hernandez," a/k/a "Johnny 40,"
           b)   ELMER CAVIEDES, a/k/a "Albiero Cordoba,"
           c)   MIGUEL SANTANILLA BOTACHE, a/k/a "Gentil Duarte,"
           d)   GILDARDO GARCIA CARDONA, a/k/a "Alviro Rojas,"
           e)   TOMAS MOLINA CARACAS, a/k/a "Negro Acacio,"
           f)   EFRAIN MENDEZ, a/k/a “Guillermo,” a/k/a “Cochornea,”
           g)   CARLOS ALBERTO GARCIA, a/k/a “Herimides Buitrago” a/k/a "Oscar
                Montero" a/k/a "Paisa,"
           h)   NORBEI CAMARGO, a/k/a "James Patapalo,"
           i)   ERASMO TRASLAVINA BENAVIDES, a/k/a “Ismardo Murcia Lozada” a/k/a
                "Jimmy Guerrero,"
           j)   JOSE EPINEMIO MOLINA GONZALEZ, a/k/a "Danilo Garcia,"
           k)   JAIME COTRINO DIAZ, a/k/a "Arcesio,"
           l)   ALONSO OLARTE LOMBANA, a/k/a “Luis Eduardo Marin” a/k/a "Rafael
                Gutierrez,"
           m)   FERNELLI RIZO CARRASCAL, a/k/a “Marco Fanfan,” a/k/a "Jurga Jurga,"
           n)   IGNACIO LEAL GARCIA, a/k/a "Camilo" a/k/a "Tuerto,"
           o)   LUIS EDUARDO LOPEZ MENDEZ, a/k/a "Efren Arboleda,"
           p)   OMAR OYOLA ESTUPINAN, a/k/a "Jorge Humberto Cortes" a/k/a "JH,"
           q)   GUSTAVO GONZALEZ SANCHEZ, a/k/a "Rambo,"
           r)   RAFAEL CEPILLO,
           s)   EDGAR SALGADO ARAGON, a/k/a “Rodrigo” a/k/a “Cadete,”
           t)   ERNESTO HURTADO PENALOSA, a/k/a “Negro Elecier,”
           u)   EMIRO DEL CARMEN ROPERO SUAREZ, a/k/a “Ruben Zamora,” and
           v)   LUIS EDUARDO OYOLA DIAZ, a/k/a “Esponja,”



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  27.     Defendant, RODRIGO GRANDA a/k/a "Ricardo Gonzalez” is a Colombian national

  who is a member of the FARC’s international commission who was captured in Venezuela,

  returned to Colombian authorities, then later released as part of a prisoner exchange, and is

  now a fugitive residing in Venezuela and is subject to the jurisdiction of this Court.

  28.     Defendant JAIRO ALFONSE LESMES BULLA is a Colombian national who is a

  member of the FARC international commission for Ecuador, Argentina, Chile, Uruguay and

  Paraguay working abroad to obtain recruits, support and protection. He was OFAC

  designated under the Foreign Narcotics Kingpin Designation Act on September 30, 2008 and

  is in the custody of Colombian authorities and is subject to the jurisdiction of this Court.

  29.     Defendant ORLAY JURADO PALOMINO is a Colombian national who is a member

  of the FARC international commission for Venezuela working abroad to obtain recruits,

  support and protection. He was OFAC designated under the Foreign Narcotics Kingpin

  Designation Act on September 30, 2008 and is now a fugitive residing in Venezuela and is

  subject to the jurisdiction of this Court.

  30.     Defendant FRANCISCO ANTONIO CADENA COLLAZOS is a Colombian national

  who is a member of the FARC international commission for Brazil working abroad to obtain

  recruits, support and protection. He was OFAC designated under the Foreign Narcotics

  Kingpin Designation Act on September 30, 2008 and is now a fugitive residing in Brazil and

  is subject to the jurisdiction of this Court.

  31.     Defendant NUBIA CALDERON DE TRUJILLO is a Colombian national who is a

  member of the FARC international commission for Nicaragua working abroad to obtain

  recruits, support and protection. She was OFAC designated under the Foreign Narcotics

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   Kingpin Designation Act on September 30, 2008 and was granted asylum and resides in

   Nicaragua and is subject to the jurisdiction of this Court.

   32.     Defendant OVIDIO SALINAS PEREZ is a Colombian national who is a member of

   the FARC international commission for Panama who was OFAC designated under the

   Foreign Narcotics Kingpin Designation Act on September 30, 2008 and who is a fugitive and

   is subject to the jurisdiction of this Court.

   33.     Defendant JORGE DAVALOS TORRES is a Colombian national who is a member

   of the FARC international commission for Canada who was OFAC designated under the

   Foreign Narcotics Kingpin Designation Act on September 30, 2008 and who is a fugitive and

   is subject to the jurisdiction of this Court.

   34.     Defendant EFRAIN PABLO REJO FREIRE is a Colombian national who is a

   member of the FARC international commission for Peru who was OFAC designated under

   the Foreign Narcotics Kingpin Designation Act on September 30, 2008 and who is a fugitive

   and is subject to the jurisdiction of this Court.

   35.     Defendant LILIANA LOPEZ PALACIOS is a Colombian national who is a member

   of the FARC international commission for Mexico who was OFAC designated under the

   Foreign Narcotics Kingpin Designation Act on September 30, 2008 and who is a fugitive and

   is subject to the jurisdiction of this Court.

   36.     Defendant MARIA REMEDIOS GARCIA ALBERT a/k/a Soraya a/k/a “Irene” is a

   Spanish national who is a member of the FARC international commission for Spain, she was

   OFAC designated under the Foreign Narcotics Kingpin Designation Act on January 15,



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   2009, and is currently out on bail residing in Spain and is subject to the jurisdiction of this

   Court.

   37.      Defendant OMAR ARTURO ZABALA PADILLA, a/k/a “Lucas Gualdron” is a

   Colombian national who is a member of the FARC international commission for France,

   Italy and Switzerland, he was OFAC designated under the Foreign Narcotics Kingpin

   Designation Act on January 15, 2009 and is a fugitive and is subject to the jurisdiction of this

   Court.

   38.      Defendant VLAUDIN RODRIGO VEGA a/k/a “Carlos Vlaudin” is a Chilean

   national who is a member of the FARC international commission for Australia, he was

   OFAC designated under the Foreign Narcotics Kingpin Designation Act on January 15, 2009

   and is a fugitive and is subject to the jurisdiction of this Court.

   39.      Defendant GERARDO ANTONIO AGUILAR RAMIREZ a/k/a “Cesar” was a

   FARC commander and one of the Plaintiffs’ jailers, he was OFAC designated under the

   Foreign Narcotics Kingpin Designation Act in July 2008, he has been extradited to the US

   and is currently incarcerated awaiting trial in federal court in the District of Colombia on

   both narcotics and kidnapping charges related to Plaintiffs and is subject to the jurisdiction of

   this Court.

   40.      Defendant ERMINSO CUEVAS CABRERA a/k/a “Mincho” was a FARC

   commander of and finance chief, accused of sending 10,000 kg of cocaine to different

   countries each month, he has been extradited to the US and is currently incarcerated awaiting

   trial in federal court in the District of Colombia with Cesar and is subject to the jurisdiction

   of this Court.

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   41.     Defendant JORGE ENRIQUE RODRIGUEZ MENDIETA a/k/a “Ivan Vargas” is a

   FARC member and has been extradited to the US and is currently incarcerated awaiting trial

   in federal court in the District of Colombia with a/k/a Cesar and is subject to the jurisdiction

   of this Court.

   42.     Defendant JUAN JOSE MARTINEZ VEGA a/k/a “Chiguiro” is a FARC member

   and has been extradited to the US and is currently incarcerated awaiting trial in federal court

   in the District of Colombia with Cesar and is subject to the jurisdiction of this Court.

   43.     Defendant NANCY CONDE RUBIO a/k/a “Doris Adriana” was the logistics,

   finance, supply and material support coordinator for the FARC, she was also one of

   Plaintiffs’ jailers, she was OFAC designated under the Foreign Narcotics Kingpin

   Designation Act in July 2008, she was extradited to the US on September 16, 2009 and is

   currently incarcerated awaiting trial in federal court in the District of Colombia with Cesar

   and is subject to the jurisdiction of this Court.

   44.     Defendant JOSE MARIA CORREDOR IBAGUE a/k/a “El Boyaco” is a FARC

   member involved with weapons for drugs transactions, in control of clandestine FARC

   airstrips, he was OFAC designated under the Foreign Narcotics Kingpin Designation Act in

   July 2008, and was extradited to the US on October 10, 2008 and is currently incarcerated

   awaiting trial in federal court in the District of Colombia with Cesar and is subject to the

   jurisdiction of this Court.

   45.     Defendant ALEXIS FREDDY MOSQUERA-RENTERIA a/k/a “Ronald” is a FARC

   member arrested in Panamian waters February 22, 2008 while manning a FARC patrol boat

   off Jaque, Panama, loaded with explosives, detonators, AK47s, ammunition, other military

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   gear and trace residue of cocaine, he was extradited to the US on April 17, 2009 and charged

   in federal court in NY with conspiring to provide material support to FARC and is

   incarcerated by the US awaiting trial and is subject to the jurisdiction of this Court.

   46.     Defendant YARLEI BANOL-RAMOS a/k/a “Diana” is a FARC member arrested in

   Panamanian waters February 22, 2008 while manning a FARC patrol boat off Jaque,

   Panama, loaded with explosives, detonators, AK47s, ammunition, other military gear and

   trace residue of cocaine, she was extradited to the U.S. on April 17, 2009 and charged in

   federal court in NY with conspiring to provide material support to FARC and is incarcerated

   by the US awaiting trial and is subject to the jurisdiction of this Court.

   47.     Defendant JORGE ABEL IBARGUEN-PALACIO a/k/a “Turbo” is a FARC member

   arrested in Panamian waters February 22, 2008 while manning a FARC patrol boat off Jaque,

   Panama, loaded with explosives, detonators, AK47s, ammunition, other military gear and

   trace residue of cocaine, he was extradited to the U.S. on April 17, 2009 and charged in

   federal court in NY with conspiring to provide material support to FARC and is incarcerated

   by the U.S. awaiting trial and is subject to the jurisdiction of this Court.

   48.     Defendant CAROLINA YANAVE ROJAS is a FARC member extradited to the U.S.

   on October 10, 2008 and charged with manufacture and attempt to distribute cocaine in the

   U.S. to finance FARC operations and is incarcerated by the US awaiting trial and is subject

   to the jurisdiction of this Court.

   49.     ANA ISABEL PENA AREVALO a/k/a “Dona Chava” is a FARC member extradited

   to the U.S. and charged in the U.S. with hostage taking and is incarcerated by the U.S.

   awaiting trial and is subject to the jurisdiction of this Court.

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   50.      LUZ MERY GUTIERREZ VERGARA a/k/a “Mery” is a FARC member extradited

   to the U.S. and charged in the U.S. with hostage taking and is incarcerated by the U.S.

   awaiting trial and is subject to the jurisdiction of this Court.

   51.      JOSE FERNANDO ROMERO MEJIA a/k/a “El Morocho” is a FARC member

   extradited to the U.S. and charged in the U.S. with narco-terrorsim and is incarcerated by the

   U.S. awaiting trial and is subject to the jurisdiction of this Court.

   52.      JOSUE CUESTA LEON a/k/a “El Viejo” is a FARC member in Colombian custody

   and has been indicted in the U.S. for hostage taking and is subject to the jurisdiction of this

   Court.

   53.      MARIBEL GALLEGO RUBIO a/k/a “Maritza” is a FARC member in Colombian

   custody and has been indicted in the U.S. for hostage taking and is subject to the jurisdiction

   of this Court.

   54.      CAMILO RUEDA GIL a/k/a “El Primo” is a FARC member in Colombian custody

   and has been indicted in the U.S. for hostage taking and is subject to the jurisdiction of this

   Court.

   55.      ANA LEONOR TORRES a/k/a “Juliana” is a FARC member in Colombian custody

   and has been indicted in the U.S. for hostage taking and is subject to the jurisdiction of this

   Court.

   56.      BLADIMIR CULMA SUNZ a/k/a “Vladimir” is a FARC member in Colombian

   custody and has been indicted in the U.S. for hostage taking and is subject to the jurisdiction

   of this Court.



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   57.     Defendant ALEXANDER FARFAN SUAREZ a/k/a “Enrique Gafas” is a FARC

   member who acted as Plaintiffs’ jailer, he was OFAC designated under the Foreign Narcotics

   Kingpin Designation Act in July 2008, is indicted in the U.S. and is in custody in Colombia

   and is subject to the jurisdiction of this Court.

   58.     Defendant MARTIN CUERO is a FARC member and top aide to MONO JOJOY

   who was responsible for logistics and drug trafficking activities of FARC, he was captured

   by the Colombian army on June 12, 2009 and is in custody in Colombia is subject to the

   jurisdiction of this Court.

   59.     Defendant HELI MEJIA MENDOZA a/k/a “Martin Sombra” is a FARC member

   who acted as one of Plaintiffs jailers, he was arrested in Colombia in February 2008 and is

   the subject of a 17 count indictment in federal court in the District of Colombia but his

   extradition to the US was denied by Colombia’s Supreme Court on June 17, 2009 and he

   remains in custody in Colombia is subject to the jurisdiction of this Court.

   60.     Defendant GABRIEL CULMA is a FARC member who acted as Plaintiffs’jailer who

   is in the custody of Colombian authorities is subject to the jurisdiction of this Court.

   61.     Defendant WILKIN FERNANDO LUGO a/k/a “Teofilo Florero” is the head of a

   FARC mobile column and is charged with aggravated ransom kidnapping, conspiracy to

   commit a crime and aggravated homicide, serving sentence in Colombia (for other crimes),

   he was indicted August 11, 2009 in Colombia for Plaintiffs’ kidnappings and is in custody in

   Colombia is subject to the jurisdiction of this Court.

   62.     Defendant JOSE ARMANDO CADENA CABRERA, a/k/a “Bronco” is a FARC

   member involved in the Plaintiffs’ initial capture/murder, he was captured in Bogota on

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   August 23, 2009 and is in custody of the Colombian authorities is subject to the jurisdiction

   of this Court.

   63.    Defendant WALTER TAPIERO a/k/a COMMANDER ROMEL is a FARC member

   who was directly responsible for supplies for hostages and is currently in custody of the

   Colombian authorities is subject to the jurisdiction of this Court.

   64.    Defendant WILSON URBANO LOPEZ a/k/a “RECICLO” is a FARC member who

   was second in command of the FARC’s drug trafficking activities and was recently arrested

   in Colombia and awaiting extradition proceedings to the US is subject to the jurisdiction of

   this Court.

   65.    Defendants are all terrorists and current or former members of the foreign terrorist

   organization or terrorist party known as the FARC.

   66.    Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including hostage

   taking, kidnapping, killing and imprisoning Plaintiffs.

         DEFENDANTS’ PURPOSEFUL DIRECTION OF TERROR & ACTIVITIES
                     AT CITIZENS OF THE UNITED STATES

   67.    Defendants are terrorists who engage in international terrorism, including

   premeditated, politically motivated violence, threats of violence, hostage takings, murders

   and other terrorist related activities perpetrated against noncombatant targets including U.S.

   nationals including directing terrorist activities across national and international borders in

   order to influence U.S. and Colombian policy.




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   68.     Each defendant purposefully and intentionally participated in the FARC’s criminal

   and international terrorism activities, including the kidnapping, hostage taking,

   imprisonment, and murder of Plaintiffs, directed at and knowing they were U.S. nationals.

   69.     The defendants control illegal narcotics production Colombia and engage in

   international narcotics distribution and sale directed at the U.S. and its citizens, outside of the

   borders of Colombia and defendants use kidnapping, hostage taking and murder as part of

   their illegal narcotics trafficking as terrorist activities.

   70.     Defendants conspired to shoot down a U.S. aircraft, kidnap U.S. citizens, or kill them,

   and to then hold them captive for and broadcast their photographs worldwide for the express

   purpose of inflicting terror on U.S. citizens and attempting to influence U.S. and Colombian

   government policy.

   71.     Defendants are strongly anti-American, have specifically targeted American citizens,

   and have engaged in violent acts against Americans and Colombians.

   72.     Defendants issued public statements in English and Spanish conveying anti-American

   views, marking Americans as targets, and condemning the policies of the United States.

   73.     On February 13, 2003 plaintiffs were conducting a counter narcotics surveillance

   mission in a U.S registered aircraft when the FARC opened fire on the aircraft. Post-crash

   investigation revealed the FARC had hit the aircraft with heavy machine gun fire before it

   had crash landed.

   74.     FARC members have admitted that the FARC had intentionally fired at the aircraft to

   shoot it down, and capture its crew, knowing that it was a U.S. aircraft and U.S. national

   crew on-board.

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   75.    All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located the downed plane. The American pilot,

   Thomas Janis, and the Colombian soldier, Luis Alcides Cruz, were shot and killed by FARC

   members within minutes of the landing, and their bodies were left a short distance from the

   damaged plane. The other three American hostages, Keith Stansell, Marc Gonsalves, and

   Thomas Howes were seized by force, taken hostage, and marched into the jungle by FARC

   members, where they were held captive for 1,967 days until their rescue July 2, 2008.

   76.    The decedent, Thomas Janis was a retired United States Army Special Operations

   pilot, having served his last tour of duty before retirement as a Chief Warrant Officer Five

   member and Commander of Fixed Wing elements for a Special Forces Operational

   Detachment. Following his 1998 military retirement, Thomas Janis was employed as a

   civilian flying reconnaissance and surveillance missions in Colombia in support of the global

   war against terrorism and narcotics trafficking.

   77.    About two months after the plane crash, on April 27, 2003, the FARC issued a public

   communique taking credit for seizing and holding the three Americans hostage. In that public

   letter, published to the United States, the FARC offered to release approximately 250 high

   level Colombian citizens that it was then holding hostage, 1 together with the three Americans

   captured on February 13, 2003, in exchange for certain political concessions from the

   Colombian government and to illegally influence the policy of the U.S. The FARC demanded

   that the Colombian government carve out of its sovereign territory a demilitarized zone

   1
    At the time, the FARC hostages included provincial governors (2-4), national legislators (10-
   15), military officers (100+), police officials (100+), and other foreign nationals who had been
   captured by the FARC.
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   (DMZ), which would be used as a new base of operations for the FARC, and release hundreds

   of FARC terrorists currently held by the Colombian authorities, as a condition for the release

   of the three American hostages.

   78.     In July 2003, the defendants forced the Plaintiffs, Keith Stansell, Marc Gonsalves,

   and Thomas Howes to participate in a videotaped interview to prove that they were alive and

   being held by the defendants. A FARC senior leader and defendant here, Mono Jojoy, told

   the plaintiffs, Keith Stansell, Marc Gonsalves, and Thomas Howes that the FARC

   Commander “has ordered us . . . to send a proof of life to your families.” The Plaintiffs’

   families lived inside the United States. The “proof of life” was delivered to CBS News, an

   American media organization, in New York, New York and aired throughout the U.S.

   79.     During the Plaintiffs’ period of captivity, the defendants continued to engage in the

   establishment and operation of a finance, logistical, supply and support network and material

   support network outside of Colombia utilizing satellite phones and SIM (“Subscriber Identity

   Module”) cards purchased, shipped, and serviced in Florida to support the hostage taking of

   the plaintiffs and other terrorist activities.

   80.     Defendants conducted all manner of logistics, financing, soliciting material support

   from locations outside Colombia, and including the U.S.

   81.     Defendants demanded, in a form of communication published in the U.S., the release

   of two convicted FARC terrorists in the U.S. or the defendants would kill, injure, and

   continue to forcible detain the plaintiffs.




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   82.      Defendants engaged in intentional and deliberate open, hostile, malignant, and

   barbaric actions directed and felt in this forum and designed to cause pain and sow terror in

   the U.S.

   83.      Defendants’ acts were intended to intimidate or coerce the Colombian and U.S.

   civilian population, to influence policy of the U.S. Government by intimidation or coercion,

   and to affect the conduct of a government by kidnapping, hostage taking and assassination.

   84.      Defendants individually and collectively had fair warning and knew that their

   activities would subject them to the jurisdiction of the U.S. for criminal and civil liability.

   85.      The defendants' decision to purposefully direct their terror at the U.S., and the fact

   that the plaintiffs' injuries, captivity and death arose out of terrorist activities, should suffice

   to cause the defendants, to “reasonably anticipate being haled into” a U.S. court.

   86.      The Defendants have purposefully established minimum contacts with the U.S. as a

   whole.

   87.      Defendants have purposefully directed their activities at U.S. citizens residing in this

   District and are therefore subject to the personal jurisdiction of this Court compatible with

   fair play and substantial justice.

   88.      This Court may exercise personal jurisdiction over the defendants consistent with the

   Due Process Clause of the Fifth Amendment.

   89.      Defendants are also subject to the jurisdiction of this Court under Florida’s long arm

   statute, Fla. Stat. §48.193 because defendants engaged in substantial and not isolated business

   activities in Florida.



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                       ALLEGATIONS APPLICABLE TO ALL COUNTS

                                   The Terrorist Organization FARC

   90.    The Revolutionary Armed Forces of Colombia – an English translation of the Spanish

   name of the group “Fuerzas Armadas Revolucionarias de Colombia” (commonly known as

   and referred to hereinafter as the “FARC”) – is an armed and violent organization in the

   Republic of Colombia.

   91.    The FARC is, and has been since its inception in 1964, engaged in armed conflict

   against the government of the Republic of Colombia, which is a constitutional, multi-party

   democracy. The FARC seeks to destabilize all levels of the Colombian government by means

   of violence, including murders and hostage takings, threats of violence, and other terrorist

   related activities. The FARC’s activities throughout Colombia have caused hundreds of

   civilian deaths and injuries.

   92.     The FARC has been strongly anti-American, characterizing American citizens as

   “military targets,” it has engaged in violent acts against U.S. nationals in Colombia, including

   murders and hostage takings.

                             The FARC Secretariat and Estado Mayor

   93.    The FARC is a highly structured terrorist organization. At the top of the organization

   is the Secretariat, the top seven leaders who are the ultimate decision makers of the FARC.

   Members of the Secretariat also have additional responsibilities, including acting as advisors

   to different regions of the FARC.

   94.    The central governing body of the FARC is the Estado Mayor, or general counsel,

   which is directly under the Secretariat.     It is comprised of the seven members of the

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   Secretariat, and approximately 20 others. Although the membership of the Estado Mayor

   changes, its members are comprised of Bloc Commanders, senior Front Commanders, and

   other individuals who have attained leadership positions within the FARC.

   95.    The Secretariat and Estado Mayor set FARC policies for the entire organization, its

   international terrorism activities, including policies related to hostage taking and murder and

   the manufacture and distribution of cocaine paste and cocaine.

                          The FARC Blocs, Fronts and Mobile Columns

   96.     The FARC is comprised of approximately 77 Fronts and Mobile Columns

   (collectively, "Fronts"). These are designated by number (e.g., the "16th Front") or by name

   (such as "Teofilo Forero Castro Mobile Column” (“TFMC”)). The size of each Front varies,

   with between several dozen to more than hundreds of FARC members comprising a Front.

   Each Front controls all activities in a geographic area and its Front Commander has absolute

   over the Fronts terrorist activities, decisions on life and death and on manufacture and

   distribution of cocaine paste and cocaine.

   97.     Front Commanders are typically assisted by one or more Finance Officers, who

   oversee all financial matters for the Front, including material support of terrorist activities,

   hostage captivity and maintenance and illegal narcotics manufacturing and distribution.

   98.     Groups of Fronts and Mobile Columns are organized into geographical clusters, called

   Blocs or Joint Commands. All Front Commanders report to the leadership of each Bloc,

   which is comprised of a small group of leaders which form the Estado Mayor of that particular

   Bloc. The individual in charge of each Bloc Estado Mayor is known as the Bloc Commander

   for that Bloc.

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          The FARC Acts & Conspiracy to Engage in Acts of International Terrorism

   99.     Defendants committed acts and did knowingly combine, conspire, confederate and

   agree, together, with each other, and with others, known and unknown to engage in acts of

   international terrorism against U.S. nationals, terrorism, and terrorist activity, including

   murder and hostage taking, violence and acts dangerous to human life and to provide material

   support and resources and financial support to a designated foreign terrorist organization,

   namely the FARC, knowing that the organization was designated as a terrorist organization,

   has engaged or engages in terrorist activity, and has engaged or engages in terrorism. The

   material support also included proceeds from illegal narcotics and hostage and kidnapping

   activities. The defendants’ acts of international terrorism transcend national boundaries and

   are committed to coerce or intimidate the policy of the U.S. and Colombia.

              The FARC’s “Taxes” On Cocaine Manufacturing And Distribution

   100.    The FARC initially involved itself in the cocaine and cocaine paste trade by imposing

   a “tax” on individuals involved in every aspect of cocaine and cocaine paste production that

   occurred within the territory it controlled, including, without limitation: coca farmers, cocaine

   lab operators, cocaine traffickers who received the finished cocaine for distribution, and

   individuals who ran clandestine air strips through which the cocaine was transported.

   101.    The FARC's method of collecting the “taxes” on narcotics varied over time. Initially,

   the FARC required the coca farmers located within its territories to bring the cocaine paste to

   FARC controlled markets on a weekly basis. Cocaine and cocaine paste purchasers also

   arrived at the markets to purchase the cocaine paste. At such markets, the FARC oversaw the

   narcotics transactions, “taxing” both the farmer and the purchaser for each gram of cocaine

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   paste sold. Similarly, operators of cocaine laboratories had to pay “taxes” for each kilogram

   of cocaine produced.

                 The FARC’s Control of Cocaine Manufacturing And Distribution

   102.   While continuing to “tax” all aspects of the cocaine trade, at the direction of its

   leaders, the FARC took a more active role in the production of cocaine paste and cocaine, to

   increase its income from the manufacture and distribution of cocaine to finance international

   terrorism.

   103.   The FARC saw the control over the production of cocaine as means of furthering and

   funding its terrorist activities such as murder, extortion, kidnapping, bombing to destabilize

   Colombia and expert pressure and influence over the policies of Colombia and the U.S. as it

   moved into a counter narcotics and drug eradication program in Colombia.

   104.   As it expanded its role, the FARC declared itself the sole buyer of cocaine paste in that

   Front or geographical area. This practice was directed by the highest levels of the FARC - in

   order to increase the revenue the FARC derived from cocaine production in the areas that it

   controlled.

   105.   The FARC leadership, having achieved a monopoly over cocaine paste purchases,

   then set the price at which it would buy cocaine paste from the campesinos. The FARC

   required campesinos to bring the cocaine paste to markets that the FARC set up on a regular

   basis (e.g., once a week) where the campesinos would deliver the cocaine paste to the FARC.

   The FARC either paid the campesino at the time of the sale, or, more often, gave them a

   receipt which promised future payment. The receipt indicated, among other things, the

   amount of cocaine paste purchased, the total amount owed to the campesino, a stamp stating

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   “FARC,” and the name of the FARC Front that purchased the cocaine paste.

   106.    Once the FARC purchased the cocaine paste, the paste was either: (a) sold at a price

   set by the FARC; or (b) brought to a laboratory run, controlled, or under the supervision of the

   FARC, where it was converted to cocaine.

   107.    When the FARC sold the cocaine paste directly to a transporter, it typically delivered

   the cocaine paste to a laboratory which was either run by the FARC or by an independent,

   who was heavily “taxed” by the FARC, either in currency or in finished cocaine.

   108.    When the FARC brought the cocaine paste to one of its own laboratories, it converted

   the cocaine paste to cocaine, and then delivered the drugs to the cocaine transportation

   organizations that sent the cocaine out of Colombia to the U.S. and elsewhere. To facilitate

   these transactions, the FARC built, secured and operated clandestine air strips in its territories

   in Colombia and outside of Colombia’s borders.

           The FARC’s Coordinated Cocaine Trafficking and Strict Cocaine Policies

   109.    The various FARC Fronts coordinated their cocaine and cocaine paste manufacturing

   and distribution activities, depending on their geographical location and whether they had a

   local FARC cocaine conversion laboratory. In addition, Fronts located on Colombia's borders

   were primarily responsible for transporting cocaine outside of Colombia, and facilitating the

   exchange of cocaine and cocaine paste for weapons and supplies that were used by the FARC

   to support their international terrorism activities.

   110.    The FARC became directly involved in importation of cocaine into the United States

   and Europe, using its international membership in those countries to facilitate the receipt of

   FARC cocaine. The FARC increased the quality of its cocaine for export, and established

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   direct ties with cocaine distribution organizations in the U.S. and Europe.

   111.   The FARC's cocaine policies were enforced throughout the FARC. FARC leaders

   stated that enforcement of FARC rules relating to cocaine and cocaine paste was of paramount

   importance, because the FARC was not able to finance its international terrorist operations

   without the money and weapons it earned through the cocaine and cocaine paste trade. FARC

   leaders imposed a series of often lethal punishments, termed "Revolutionary Justice," on those

   who violated its cocaine and cocaine paste policies.

   112.   FARC leaders ordered vast numbers of campesinos murdered for selling cocaine paste

   to non-FARC buyers. Campesinos were also murdered for diluting the purity of the cocaine

   paste. Campesinos were typically shot, stabbed, or dismembered alive. Frequently, the

   bodies of the murdered campesinos were cut open, filled with rocks, and sunk in nearby

   rivers. Other punishments of campesinos included the confiscation of their land for FARC

   coca plantations and forced exile from the area where they lived.

   113.   Similarly, buyers who came into FARC territory without authorization and who

   purchased cocaine paste were summarily executed upon orders of the FARC leaders. The

   FARC also murdered its own members who were caught stealing cocaine paste or cocaine.


   The FARC’s Reliance On Illicit Income From Cocaine Manufacturing And Distribution
                               and Targeting of Americans

   114.   A 1997 publication that followed a FARC leadership meeting, made each Front

   primarily responsible for its own finances, and required each Front to pay tribute to the FARC

   leadership.   The FARC financed itself primarily through cocaine and cocaine paste

   manufacturing and distribution. FARC Fronts that were able to produce greater revenue

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   through cocaine paste and cocaine production were responsible for contributing money and

   resources to support other Fronts that generated smaller revenues from the manufacture and

   distribution of cocaine paste and cocaine.         Narcotics proceeds were thus distributed

   throughout the FARC, for the enrichment of the commanders - Secretariat, Estado Mayor,

   Bloc, and Front - and in order to purchase weapons and supplies for all members of the FARC

   to continue their mission of international terrorism.

   115.    FARC leadership frequently noted during meetings that the FARC could not survive

   without the proceeds generated from cocaine and cocaine paste manufacturing and

   distribution.   The FARC leadership recognized the damage to its finances caused by

   Colombia’s government-sponsored fumigation efforts.

   116.    The FARC leadership thus ordered its members to take counter-measures against

   fumigation, including, among others, shooting down fumigation aircraft; forcing campesinos

   to publicly rally against fumigation; and attacking Colombian infrastructure to force the

   Colombian Government to divert resources from fumigation.

   117.    At all times material and before February 13, 2003 recognizing that the U.S. has

   contributed significantly to Colombian fumigation efforts, the FARC leadership ordered

   FARC members to kidnap and murder U.S. nationals to intimidate the U.S. and coerce it from

   efforts to fumigate and disrupt the FARC’s cocaine and cocaine paste manufacturing and

   distribution activities.

                      FARC’S Designation as Foreign Terrorist Organization

   118.    On October 8, 1997 the Secretary of State of the United States, designated the FARC

   designated foreign terrorist organization (FTO), pursuant to Title 8, United States Code,

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   Section 1189. The FARC was re-designated on September 5, 2001. At all times material to

   this action, the FARC is a designated foreign terrorist organization. As a result of this

   designation, it is unlawful for persons subject to the jurisdiction of the United States to

   provide material support and resources to the FARC. Specifically, 8 U.S.C. § 1189(a)(1)

   authorizes the Secretary of State to designate an organization as a foreign terrorist

   organization . . . if the Secretary finds that (A) the organization is a foreign organization; (B)

   the organization engages in terrorist activity . . . ; and (C) the terrorist activity or terrorism of

   the organization threatens the security of United States nationals or the national security of

   the United States. 8 U.S.C. § 1189(a)(1).

             Object of the Conspiracy to Engage in Acts of International Terrorism

   119.    Defendants and their co-conspirators engaged in and conspired to engage in acts of

   international terrorism and assist the FARC by establishing and personally serving in a

   finance, money laundering, logistical, support and supply network designed to procure

   weapons, ammunition, high technology devices, money, and other materials and supplies, and

   to transport and deliver these and other commodities, including hostages, to and among the

   FARC all in furtherance of international terrorism, terrorism, terrorist activity and including

   murder and hostage taking of U.S. nationals.

   120.    Defendants knowingly and intentionally combined, confederated, conspired and

   agreed with each other and with other co-conspirators, known and unknown, to seize and

   detain and threaten to kill, injure and continue to detain U.S. nationals and other nationals

   working in Colombia in order to intimidate and coerce the U.S. Government and that the

   government of Colombia exchange prisoners with the FARC and create a demilitarized zone

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   for the FARC, as explicit and implicit conditions for the release of the U.S. nationals and

   other hostages.

                                  Acts of International Terrorism

   121.   The defendants conspired to unlawfully import cocaine into the U.S. and use the funds

   from its manufacture and distribution to materially support international terrorism and a

   foreign terrorist organization FARC.

   122.   The defendants produced, manufactured and distributed cocaine, and coca leaves,

   intending and knowing that such controlled substance would be unlawfully imported into the

   U.S. and for the purpose of materially supporting international terrorism and a foreign terrorist

   organization FARC.

   123.   Defendants found buyers for and then transported by air for profit, via clandestine

   airstrips located in Colombia and Venezuela, cocaine produced Colombia.

   124.   Defendants exchanged cocaine for materials and supplies, including weapons,

   ammunition, and satellite phones for the FARC to directly support hostage taking and hostage

   maintenance.

   125.   Defendants used profits from the sale of cocaine to procure communications

   equipment purchased in the United States, such as satellite telephones, SIM cards, and other

   high technology devices, HF radios and then used this equipment to operate the logistical

   supply network to directly support hostage taking and hostage maintenance.

   126.   Defendants used satellite telephones and HF radios, and radio call centers to

   communicate with each other in order to facilitate the procurement and shipment of supplies

   intended for the FARC, and to facilitate the transfer of funds to purchase or transport supplies

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   intended for the FARC to directly support hostage taking and hostage maintenance.

   127.   Defendants had materials and supplies shipped from various urban areas within

   Colombia and from other countries, including the U.S. to covert supply routes - flying

   materials on twin engine planes, such as DC-3s, to rural and jungle airstrips in areas

   influenced or controlled by the FARC, whereupon they were transported to FARC camps via

   truck or river boat. FARC members also delivered large sums of cash to finance the purchase

   of materials and supplies to directly support hostage taking and hostage maintenance.

   128.   Defendants CESAR and DORIS ADRIANA were among the leaders of the FARC

   who committed acts of international terrorism and further the conspiracy to commit such acts

   including material support of the FARC. CESAR was the commander of the 550 person 1st

   Front. DORIS ADRIANA was the 1st Front’s fourth ranking member and is in charge of the

   logistical and finance network. She was responsible for not only supplying the 1st Front with

   materials and supplies, including high technology communications equipment, but also with

   supplying other fronts with high technology communications equipment and other materials

   and supplies to directly support hostage taking and hostage maintenance.

   129.   Defendants CESAR controlled all cocaine production, manufacture, and distribution

   in his geographical area – 1st Front. No activity of any kind occurred in the 1st Front’s

   geographic area without his complete control and approval.

   130.   Defendant DORIS ADRIANA used her logistical and finance network to supply the

   FARC with material items. Operating from FARC-controlled rural and jungle areas where no

   land line or cellular phone service was available, she communicated with other members of

   the network located in urban areas by:

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          (i)     satellite phones purchased from telecommunications companies located in
          Florida and/or Bogota, Colombia, to communicate directly with her network in
          order to purchase materials and supplies, to arrange for the purchase of materials
          and supplies, to arrange for the transport of materials and supplies, and to arrange
          for the transfer of funds to pay for the purchase of materials and supplies to
          directly support hostage taking and hostage maintenance;

          (ii)    Call centers in Colombia’s urban areas to patch through calls to members
          of her logistical network. Call centers are communications businesses that had the
          technology to receive calls from rural and jungle areas via HF radios, and then
          patch those calls through to land lines and cell phones located in any other urban
          area in Colombia or in other countries, including the United States to directly
          support hostage taking and hostage maintenance.

   131.   Defendants would prepare fraudulent air shipment manifests or bribe airport or airline

   employees to fraudulently ship material items to the FARC.

   132.   Defendants sold or traded cocaine in exchange for rifles, rifle scopes, pistols,

   shotguns, bomb fuses, and ammunition to directly U.S. national murder, hostage taking and

   hostage maintenance.

   133.   The FARC and all defendants committed acts of international terrorism and furthered

   the conspiracy to commit such acts including material support of the FARC and:

      a) targeted American persons and companies;

      b) engaged in 2 way radio communications to inform each other about the presence

          of the Plaintiffs’ aircraft in the area of the FARC’s Teofilo Forrero Mobile

          Column’s area of operations;

      c) obtained permission to attack the aircraft which Defendants knew carried U.S.

          nationals;

      d) attacked the aircraft using firearms and seized as hostages U.S. nationals once the

          aircraft had crash landed;

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      e) shot and killed a U.S. national - pilot of the downed aircraft;

      f) shot and killed a Colombian soldier who was part of the crew of the downed

         aircraft;

      g) forced the plaintiffs away from the aircraft crash site using armed force and deadly

         force and took them hostage;

      h) repeatedly transported the plaintiffs to remote areas away from the site of the

         hostage taking using armed force and deadly force, with their necks chained for

         long marches through dense jungle terrain;

      i) detained the hostages under armed guard and threat of death at various locations in

         the jungle;

      j) assigned specific FARC members to execute plaintiffs in the event a rescue

         attempt was committed;

      k) performed sadistic jungle medical procedures on plaintiffs when they were injured;

      l) starved the plaintiffs for long periods;

      m) chained the plaintiffs with truck chains;

      n) demanded that the Colombian government create a demilitarized zone and conduct

         an exchange of prisoners with the FARC as explicit conditions for the release of

         the plaintiffs/hostages;

      o) prepared and published forced proof of life videos which were aired in the United

         States;

      p) named senior commanders, with expertise in negotiations to represent the FARC in

         negotiations with the Colombian government for the release of U.S.

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         plaintiffs/hostages held by the FARC;

      q) obtained false and fraudulent identification documents to facilitate participation in

         the negotiations of FARC demands for release of the U.S. plaintiffs/hostages;

      r) concealed the location of the plaintiffs/hostages;

      s) subjected the plaintiffs/hostages to cruel and inhumane conditions resulting in

         disease, illness, mental and physical injury and trauma;

      t) denied the plaintiffs/hostages adequate food and medical care;

      u) solicited and received material support from various persons and foreign

         companies doing business in Colombia, and other countries outside of Colombia,

         including payment of protection money, and supplies, transportation, logistics,

         medical care and treatment for FARC terrorists;

      v) solicited and received financial support from various foreign banks and non-bank

         financial institutions, money launderers, money changers, foreign citizens and

         persons of interest, non governmental groups and charities, front companies

         including money laundering of proceeds of the FARC’s criminal activities, and

         other banking and financial transaction services to support the FARC’s ongoing

         hostage taking, captivity and narcotics trafficking activities;

      w) availed itself of the U.S. banking system through foreign banks, non bank

         financial institutions, money changers and launderers, U.S. and foreign persons

         with foreign accounts or privileges to use clearing accounts to send, direct, divert,

         and disguise, financial support for terrorist activities, murder, hostage taking,

         support of hostages in captivity and the terrorist who guard the hostages, operate

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          communications and shadow local governments, and establish logistics and

          supply lines for illegal activities, including narcotics trafficking.


     The February 13, 2003 Mission, Armed Engagement, Murders and Hostage Taking

   134.   On February 13, 2003, members of the designated foreign terrorist organization FARC

   opened fire on a U.S. registered aircraft as it was flying over southern Colombia on a counter

   narcotics surveillance mission. Four U.S. nationals and one Colombian soldier were aboard.

   135.   All five mission crew survived the crash-landing, but were immediately taken captive

   by FARC terrorists who continued to fire weapons on the aircraft and crew of the downed

   plane. The U.S. national pilot, Thomas Janis, and the Colombian soldier, Luis Alcides Cruz,

   were shot and killed by FARC members shortly after the crash landing, and their bodies were

   left a short distance from the damaged plane. The other three U.S. nationals, Thomas Howes,

   Keith Stansell and Marc Gonsalves, were seized and taken into the jungle by FARC members,

   where they were marched at gunpoint, hidden, and held hostage for 1,967 days until their

   rescue July 2, 2008.

                The FARC Taking Credit for the Hostage Taking and Murders

   136.   Tom Janis’ body was found near the crash site. Captured FARC members have

   admitted that the FARC murdered Tom Janis and Luis Cruz.

   137.   About two months after the plane crash, on April 27, 2003, the FARC issued a public

   communique acknowledging that it had taken the three U.S. nationals hostage, erroneously

   referring to them as "three members of the United States military." In that public letter, the

   FARC offered to release approximately 250 high level Colombian citizens that it was then


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   holding hostage, 2 together with the three Americans captured on February 13, 2003, in

   exchange for certain political concessions from the Colombian government. Specifically, the

   FARC demanded that the Colombian government carve out of its sovereign territory a

   demilitarized zone (DMZ), which would be used as a new base of operations for the FARC,

   and release hundreds of FARC terrorists currently held by the Colombian authorities, as a

   condition for the release of the three American hostages.

   138.    The April 27th FARC communique also called on the Colombian government to name

   an official representative to participate in "prisoner exchange" negotiations with the FARC.

   The communiqué identified three FARC senior commanders who had agreed to serve as

   representatives for the FARC in these negotiations, one of whom was the defendant, Simon

   Trinidad.

   139.    In July 2003, the defendants forced the plaintiffs, Keith Stansell, Marc Gonsalves,

   and Thomas Howes to participate in a videotaped interview to prove that they were alive and

   being held by the defendants. A FARC senior leader and defendant here, Mono Jojoy, told

   the plaintiffs, Keith Stansell, Marc Gonsalves, and Thomas Howes that the FARC

   Commander “has ordered us . . . to send a proof of life to your families.” The plaintiffs’

   families lived inside the United States. The “proof of life” was delivered to CBS News, an

   American media organization, in New York, New York and aired throughout the United

   States, including in this district.

   140.    On January 2, 2004, defendant Trinidad was arrested in Quito, Equador as an illegal

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    At the time, the FARC hostages included provincial governors (2-4), national legislators (10-
   15), military officers (100+), police officials (100+), and other foreign nationals who had been
   captured by the FARC.
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   alien. At his deportation hearing, Trinidad admitted that he was an active member of the

   FARC and that he had entered Ecuador illegally to obtain false identification documents in

   order to enable him to travel abroad to participate as a FARC representative in negotiations

   for the exchange of FARC held hostages for FARC members held by the Colombian

   government. Later, after waiving his rights, Trinidad repeated these same admissions to FBI

   agents during custodial interviews in Colombia.

   141.    An illegal organization like the FARC cannot realize any political benefit from taking

   people hostage -- such as the creation of a DMZ or the release of FARC terrorists held in

   Colombian prisons -- without an official representative who is willing to serve as their trusted

   agent in negotiations with the Colombian government, and who has the position and authority

   to dictate the terms under which the FARC will or will not release its hostages. Defendant

   Trinidad served as the FARC's official representative until the day of his arrest, January 2,

   2004.

   142.    For his role in the hostage-taking conspiracy involving the three U.S. national

   plaintiffs/hostages, defendant Trinidad was convicted by a jury in federal court in the District

   of Columbia for Conspiracy to Commit Hostage-Taking, in violation of 18 U.S.C. § 1203,

   which conviction was upheld on appeal. The evidence at trial showed that the defendant

   joined a conspiracy to take Americans hostages in Colombia. It further showed that the

   FARC fired their weapons at the victims’ plane. The FARC’s capture of the five occupants of

   the plane, and their shooting and killing of two of them, were parts of that conspiracy, and

   were specifically charged as overt acts in the indictment, Count One, ¶ 12(e) (f).



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   143.   FARC control of illegal cocaine production in Colombia and its distribution to the

   U.S. is a source of material support for its terrorist activities worldwide and directly caused

   and was a source of the FARC’s support and logistics infrastructure to capture, hold hostage

   and deny freedom to the three plaintiffs Keith Stansell, Marc Gonsalves, and Tom Howes.

   This illegal narcotics production and international distribution directly caused and was a

   source of the material support and logistics necessary to the act of international terrorism –

   the murder of Tom Janis a U.S. national, husband and father.

   144.   The FARC and its members’ terrorist acts including the murder of Thomas Janis and

   hostage taking of Keith Stansell, Marc Gonsalves, and Thomas Howes was a result of the

   FARC’s illegal activities including terrorism, efforts to destabilize a democratic nation –

   Colombia, to illegally influence U.S policy in the region, and project its terror directly into

   the U.S.

   145.   Pursuant to federal grand jury indictment, Defendants have earned over $25 billion of

   U.S. currency as a result of their ongoing narco-trafficking activities, and are material support

   of international terrorism and enabled the defendants and other as yet unknown, to murder

   Tom Janis and hold hostage Keith Stansell, Marc Gonsalves, and Tom Howes.

                                          COUNT ONE
                               (Keith Stansell against all defendants)
                                         18 U.S.C. § 2333

   146.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

   147.   Plaintiff Keith Stansell is a U.S. national injured by reason of an act of international

   terrorism and seeks damages under 18 U.S.C. § 2333.

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   148.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

          “(1) the term “international terrorism” means activities that--

                  (A) involve violent acts or acts dangerous to human life that are a
                  violation of the criminal laws of the United States or of any State, or
                  that would be a criminal violation if committed within the jurisdiction
                  of the United States or of any State;

                  (B) appear to be intended--
                         (i) to intimidate or coerce a civilian population;
                         (ii) to influence the policy of a government by intimidation or
                         coercion; or
                         (iii) to affect the conduct of a government by mass destruction,
                         assassination, or kidnapping; and

                  (C) occur primarily outside the territorial jurisdiction of the United
                  States, or transcend national boundaries in terms of the means by
                  which they are accomplished, the persons they appear intended to
                  intimidate or coerce, or the locale in which their perpetrators operate
                  or seek asylum.”

   149.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Keith Stansell was

   the mission commander on board the aircraft on February 13, 2003.

   150.   All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, and the

   Colombian soldier, Luis Alcides Cruz, were shot and killed by FARC members shortly after

   the crash landing, and their bodies were left a short distance from the damaged plane. Keith

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   Stansell was seized, detained, threatened to be killed, taken into the jungle by FARC

   members, where he was tortured, chained, starved, denied his liberty, hidden and forced at

   gun point to march throughout Colombia and other areas for more than 5 years – 1,967 days

   until he was rescued on July 2, 2008.

   151.    Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Keith Stansell injuring him.

   152.    Individual defendants committed these acts directly against plaintiff Keith Stansell

   injuring him or conspired to commit acts to provide logistics, financing, safe houses and safe

   havens, transportation, communications, funds, transfer of funds, other in kind material

   benefit, false documentation or identification including alias names, weapons, explosives,

   non-medical training, ammunition, and chemicals required to produce cocaine to further

   terrorist activity of the terrorist organization FARC.

   153.    Defendants kidnapped, held hostage, tortured, and murdered Plaintiffs and/or knowingly

   aided and abetted or conspired to provide material support to the perpetrators of such acts.

   Defendants also aided, abetted, conspired, or otherwise engaged in or provided material support

   for the acts of international terrorism, including but not limited to providing material support

   and/or aiding and abetting assistance to the FARC. This material support and/or aiding and

   abetting of acts of international terrorism allowed Defendants to carry out the kidnapping,

   torture, and wrongful death of Plaintiffs and specifically Keith Stansell.

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   154.   Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

   and kidnapped and held hostage Plaintiffs Keith Stansell, Marc Gonsalves and Tom Howes.

   Non-voluntary proof of life videotapes were created, communicated, and published in the

   United States for demands for demilitarized zones and prisoner exchanges. Defendants

   claimed responsibility for the murders and hostage taking. Defendants held Keith Stansell

   hostage for more than five years.

   155.   Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

   156.   Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S. Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

   157.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   158.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.

   159.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   160.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

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   161.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

   commit further acts of international terror, engaging in a joint single enterprise to conduct

   international terrorism through illegal schemes, and/or the material support and sponsorship

   of international terrorism.

          WHEREFORE, Plaintiff, Keith Stansell, demands judgment in his favor against all

   defendants, jointly and severally, for his past and future physical and mental pain and

   suffering, disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,

   emotional distress, loss of five and a half years of his life, including treble damages under 18

   U.S.C. 2333, plus interest, costs, attorneys fees, and such other monetary and equitable relief

   as this Honorable Court deems appropriate to compensate plaintiff.

                                         COUNT TWO
                              (Marc Gonsalves against all defendants)
                                        18 U.S.C. § 2333

   162.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

   163.   Plaintiff Marc Gonsalves is a U.S. national injured by reason of an act of international

   terrorism and seeks damages under 18 U.S.C. § 2333.

   164.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

          “(1) the term “international terrorism” means activities that--

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                  (A) involve violent acts or acts dangerous to human life that are a
                  violation of the criminal laws of the United States or of any State, or
                  that would be a criminal violation if committed within the jurisdiction
                  of the United States or of any State;

                  (B) appear to be intended--
                         (i) to intimidate or coerce a civilian population;
                         (ii) to influence the policy of a government by intimidation or
                         coercion; or
                         (iii) to affect the conduct of a government by mass destruction,
                         assassination, or kidnapping; and

                  (C) occur primarily outside the territorial jurisdiction of the United
                  States, or transcend national boundaries in terms of the means by
                  which they are accomplished, the persons they appear intended to
                  intimidate or coerce, or the locale in which their perpetrators operate
                  or seek asylum.”

   165.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Marc Gonsalves was

   the chief counter narcotics analyst on board the aircraft on February 13, 2003.

   166.   All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, and the

   Colombian soldier, Luis Alcides Cruz, were shot and killed by FARC members shortly after

   the crash landing, and their bodies were left a short distance from the damaged plane. Marc

   Gonsalves was seized, detained, threatened to be killed, taken into the jungle by FARC

   members, where he was tortured, chained, starved, denied his liberty, hidden and forced at


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   gun point to march throughout Colombia and other areas for more than 5 years – 1,967 days

   until he was rescued on July 2, 2008.

   167.    Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Marc Gonsalves injuring him.

   168.    Individual defendants committed these acts directly against plaintiff Marc Gonsalves

   injuring him or conspired to commit acts to provide logistics, financing, safe houses and safe

   havens, transportation, communications, funds, transfer of funds, other in kind material

   benefit, false documentation or identification including alias names, weapons, explosives,

   non-medical training, ammunition, and chemicals required to produce cocaine to further

   terrorist activity of the terrorist organization FARC.

   169.    Defendants kidnapped, held hostage, tortured, and murdered Plaintiffs and/or knowingly

   aided and abetted or conspired to provide material support to the perpetrators of such acts.

   Defendants also aided, abetted, conspired, or otherwise engaged in or provided material support

   for the acts of international terrorism, including but not limited to providing material support

   and/or aiding and abetting assistance to the FARC. This material support and/or aiding and

   abetting of acts of international terrorism allowed Defendants to carry out the kidnapping,

   torture, and wrongful death of Plaintiffs and specifically Marc Gonsalves.

   170.    Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

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   and kidnapped and held hostage Plaintiffs Keith Stansell, Marc Gonsalves and Tom Howes.

   Non-voluntary proof of life videotapes were created, communicated, and published in the

   United States for demands for demilitarized zones and prisoner exchanges. Defendants

   claimed responsibility for the murders and hostage taking. Defendants held Marc Gonsalves

   hostage for more than five years.

   171.   Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

   172.   Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S. Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

   173.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   174.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.

   175.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   176.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

   177.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

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   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

   commit further acts of international terror, engaging in a joint single enterprise to conduct

   international terrorism through illegal schemes, and/or the material support and sponsorship

   of international terrorism.

          WHEREFORE, Plaintiff, Marc Gonsalves, demands judgment in his favor against

   all defendants, jointly and severally, for his past and future physical and mental pain and

   suffering, disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,

   emotional distress, loss of five and a half years of his life, including treble damages under 18

   U.S.C. 2333, plus interest, costs, attorneys fees, and such other monetary and equitable relief

   as this Honorable Court deems appropriate to compensate plaintiff.

                                          COUNT THREE
                                 (Thomas Howes against all defendants)
                                          18 U.S.C. § 2333

   178.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

   179.   Plaintiff Thomas Howes is a U.S. national injured by reason of an act of international

   terrorism and seeks damages under 18 U.S.C. § 2333.

   180.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

          “(1) the term “international terrorism” means activities that--

                  (A) involve violent acts or acts dangerous to human life that are a
                  violation of the criminal laws of the United States or of any State, or


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                  that would be a criminal violation if committed within the jurisdiction
                  of the United States or of any State;

                  (B) appear to be intended--
                         (i) to intimidate or coerce a civilian population;
                         (ii) to influence the policy of a government by intimidation or
                         coercion; or
                         (iii) to affect the conduct of a government by mass destruction,
                         assassination, or kidnapping; and

                  (C) occur primarily outside the territorial jurisdiction of the United
                  States, or transcend national boundaries in terms of the means by
                  which they are accomplished, the persons they appear intended to
                  intimidate or coerce, or the locale in which their perpetrators operate
                  or seek asylum.”

   181.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Thomas Howes was

   one of the pilots flying the aircraft on February 13, 2003.

   182.   All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, and the

   Colombian soldier, Luis Alcides Cruz, were shot and killed by FARC members shortly after

   the crash landing, and their bodies were left a short distance from the damaged plane.

   Thomas Howes was seized, detained, threatened to be killed, taken into the jungle by FARC

   members, where he was tortured, chained, starved, denied his liberty, hidden and forced at

   gun point to march throughout Colombia and other areas for more than 5 years – 1,967 days

   until he was rescued on July 2, 2008.

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   183.    Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Thomas Howes injuring him.

   184.    Individual defendants committed these acts directly against plaintiff Thomas Howes

   injuring him or conspired to commit acts to provide logistics, financing, safe houses and safe

   havens, transportation, communications, funds, transfer of funds, other in kind material

   benefit, false documentation or identification including alias names, weapons, explosives,

   non-medical training, ammunition, and chemicals required to produce cocaine to further

   terrorist activity of the terrorist organization FARC.

   185.    Defendants kidnapped, held hostage, tortured, and murdered Plaintiffs and/or knowingly

   aided and abetted or conspired to provide material support to the perpetrators of such acts.

   Defendants also aided, abetted, conspired, or otherwise engaged in or provided material support

   for the acts of international terrorism, including but not limited to providing material support

   and/or aiding and abetting assistance to the FARC. This material support and/or aiding and

   abetting of acts of international terrorism allowed Defendants to carry out the kidnapping,

   torture, and wrongful death of Plaintiffs and specifically Thomas Howes.

   186.    Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

   and kidnapped and held hostage Plaintiffs Keith Stansell, Marc Gonsalves and Tom Howes.

   Non-voluntary proof of life videotapes were created, communicated, and published in the

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   United States for demands for demilitarized zones and prisoner exchanges. Defendants

   claimed responsibility for the murders and hostage taking. Defendants held Thomas Howes

   hostage for more than five years.

   187.   Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

   188.   Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S. Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

   189.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   190.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.

   191.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   192.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

   193.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

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   commit further acts of international terror, engaging in a joint single enterprise to conduct

   international terrorism through illegal schemes, and/or the material support and sponsorship

   of international terrorism.

          WHEREFORE, Plaintiff, Thomas Howes, demands judgment in his favor against all

   defendants, jointly and severally, for his past and future physical and mental pain and

   suffering, disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life,

   emotional distress, loss of five and a half years of his life, including treble damages under 18

   U.S.C. 2333, plus interest, costs, attorneys fees, and such other monetary and equitable relief

   as this Honorable Court deems appropriate to compensate plaintiff.

                                           COUNT FOUR
                                 (Judith Janis against all defendants)
                                           18 U.S.C. § 2333

   194.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

   195.   Plaintiff Judith Janis is a U.S. national injured by reason of an act of international

   terrorism and seeks damages under 18 U.S.C. § 2333. Judith Janis’ husband Thomas Janis

   was murdered by the defendants.

   196.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

          “(1) the term “international terrorism” means activities that--

                  (A) involve violent acts or acts dangerous to human life that are a
                  violation of the criminal laws of the United States or of any State, or
                  that would be a criminal violation if committed within the jurisdiction
                  of the United States or of any State;


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                  (B) appear to be intended--
                         (i) to intimidate or coerce a civilian population;
                         (ii) to influence the policy of a government by intimidation or
                         coercion; or
                         (iii) to affect the conduct of a government by mass destruction,
                         assassination, or kidnapping; and

                  (C) occur primarily outside the territorial jurisdiction of the United
                  States, or transcend national boundaries in terms of the means by
                  which they are accomplished, the persons they appear intended to
                  intimidate or coerce, or the locale in which their perpetrators operate
                  or seek asylum.”

   197.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Thomas Janis was

   pilot and aircraft commander on board the aircraft on February 13, 2003.

   198.   All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, was

   captured and then shot and killed by FARC members shortly after the crash landing, and his

   body left a short distance from the damaged plane.

   199.   Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Judith Janis, by killing her husband Thomas Janis.


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   200.   Individual defendants committed these acts directly against plaintiff Judith Janis

   injuring her or conspired to commit acts to provide logistics, financing, safe houses and safe

   havens, transportation, communications, funds, transfer of funds, other in kind material

   benefit, false documentation or identification including alias names, weapons, explosives,

   non-medical training, ammunition, and chemicals required to produce cocaine to further

   terrorist activity of the terrorist organization FARC.

   201.   Defendants murdered Thomas Janis and/or knowingly aided and abetted or conspired to

   provide material support to the perpetrators of such acts. Defendants also aided, abetted,

   conspired, or otherwise engaged in or provided material support for the acts of international

   terrorism, including but not limited to providing material support and/or aiding and abetting

   assistance to the FARC. This material support and/or aiding and abetting of acts of international

   terrorism allowed defendants to carry out the kidnapping, torture, and wrongful death of

   plaintiffs and specifically Thomas Janis.

   202.   Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

   murdered the Colombian soldier Luis Alcides Cruz and kidnapped and held hostage plaintiffs

   Keith Stansell, Marc Gonsalves and Tom Howes. Non-voluntary proof of life videotapes

   were created, communicated, and published in the United States for demands for

   demilitarized zones and prisoner exchanges. Defendants claimed responsibility for the

   murders and hostage taking.

   203.   Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

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   204.   Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S. Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

   205.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   206.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.

   207.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   208.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

   209.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

   commit further acts of international terror, engaging in a joint single enterprise to conduct

   international terrorism through illegal schemes, and/or the material support and sponsorship

   of international terrorism.

          WHEREFORE, Plaintiff, Judith Janis, demands judgment against all defendants,

   jointly and severally, for her past and future mental pain and suffering, anguish, emotional

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   distress, loss of solatium, loss of companionship, society, affection, consortium and

   guidance, including treble damages under 18 U.S.C. 2333, plus interest, costs, attorneys fees,

   and such other monetary and equitable relief as this Honorable Court deems appropriate to

   compensate plaintiff.

                                         COUNT FIVE
                           (Christopher T. Janis against all defendants)
                                        18 U.S.C. § 2333

   210.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

   211.   Plaintiff Christopher T. Janis is a U.S. national injured by reason of an act of

   international terrorism and seeks damages under 18 U.S.C. § 2333. Christopher Janis’ father

   Thomas Janis was murdered by defendants.

   212.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

          “(1) the term “international terrorism” means activities that--

                  (A) involve violent acts or acts dangerous to human life that are a
                  violation of the criminal laws of the United States or of any State, or
                  that would be a criminal violation if committed within the jurisdiction
                  of the United States or of any State;

                  (B) appear to be intended--
                         (i) to intimidate or coerce a civilian population;
                         (ii) to influence the policy of a government by intimidation or
                         coercion; or
                         (iii) to affect the conduct of a government by mass destruction,
                         assassination, or kidnapping; and

                  (C) occur primarily outside the territorial jurisdiction of the United
                  States, or transcend national boundaries in terms of the means by
                  which they are accomplished, the persons they appear intended to

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                  intimidate or coerce, or the locale in which their perpetrators operate
                  or seek asylum.”

   213.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Thomas Janis was

   pilot and aircraft commander on board the aircraft on February 13, 2003.

   214.   All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, was

   captured and then shot and killed by FARC members shortly after the crash landing, and his

   body left a short distance from the damaged plane.

   215.   Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Christopher Janis, by killing his father Thomas Janis.

   216.   Individual defendants committed these acts directly against plaintiff Christopher T.

   Janis injuring him by killing his father Thomas Janis or conspired to commit acts to provide

   logistics, financing, safe houses and safe havens, transportation, communications, funds,

   transfer of funds, other in kind material benefit, false documentation or identification

   including alias names, weapons, explosives, non-medical training, ammunition, and


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   chemicals required to produce cocaine to further terrorist activity of the terrorist organization

   FARC.

   217.    Defendants murdered Thomas Janis and/or knowingly aided and abetted or conspired to

   provide material support to the perpetrators of such acts. Defendants also aided, abetted,

   conspired, or otherwise engaged in or provided material support for the acts of international

   terrorism, including but not limited to providing material support and/or aiding and abetting

   assistance to the FARC. This material support and/or aiding and abetting of acts of international

   terrorism allowed defendants to carry out the kidnapping, torture, and wrongful death of

   plaintiffs and specifically Thomas Janis.

   218.    Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

   murdered the Colombian soldier Luis Alcides Cruz and kidnapped and held hostage plaintiffs

   Keith Stansell, Marc Gonsalves and Tom Howes. Non-voluntary proof of life videotapes

   were created, communicated, and published in the United States for demands for

   demilitarized zones and prisoner exchanges. Defendants claimed responsibility for the

   murders and hostage taking.

   219.    Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

   220.    Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S. Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

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   221.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   222.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.

   223.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   224.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

   225.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

   commit further acts of international terror, engaging in a joint single enterprise to conduct

   international terrorism through illegal schemes, and/or the material support and sponsorship

   of international terrorism.

          WHEREFORE, Plaintiff, Christopher T. Janis, demands judgment against all

   defendants, jointly and severally, for his past and future mental pain and suffering, anguish,

   emotional distress, loss of solatium, loss of companionship, society, affection, consortium

   and guidance, including treble damages under 18 U.S.C. 2333, plus interest, costs, attorneys

   fees, and such other monetary and equitable relief as this Honorable Court deems appropriate

   to compensate plaintiff.

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                                         COUNT SIX
                             (Greer C. Janis against all defendants)
                                        18 U.S.C. § 2333

   226.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

   227.   Plaintiff Greer C. Janis is a U.S. national injured by reason of an act of international

   terrorism and seeks damages under 18 U.S.C. § 2333. Greer Janis’ father Thomas Janis was

   murdered by defendants.

   228.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

          “(1) the term “international terrorism” means activities that--

                 (A) involve violent acts or acts dangerous to human life that are a
                 violation of the criminal laws of the United States or of any State, or
                 that would be a criminal violation if committed within the jurisdiction
                 of the United States or of any State;

                 (B) appear to be intended--
                        (i) to intimidate or coerce a civilian population;
                        (ii) to influence the policy of a government by intimidation or
                        coercion; or
                        (iii) to affect the conduct of a government by mass destruction,
                        assassination, or kidnapping; and

                 (C) occur primarily outside the territorial jurisdiction of the United
                 States, or transcend national boundaries in terms of the means by
                 which they are accomplished, the persons they appear intended to
                 intimidate or coerce, or the locale in which their perpetrators operate
                 or seek asylum.”

   229.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

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   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Thomas Janis was

   pilot and aircraft commander on board the aircraft on February 13, 2003.

   230.    All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, was

   captured and then shot and killed by FARC members shortly after the crash landing, and his

   body left a short distance from the damaged plane.

   231.    Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Greer Janis, by killing her father Thomas Janis.

   232.    Individual defendants committed these acts directly against plaintiff Greer Janis

   injuring her by killing her father Thomas Janis or conspired to commit acts to provide

   logistics, financing, safe houses and safe havens, transportation, communications, funds,

   transfer of funds, other in kind material benefit, false documentation or identification

   including alias names, weapons, explosives, non-medical training, ammunition, and

   chemicals required to produce cocaine to further terrorist activity of the terrorist organization

   FARC.

   233.    Defendants murdered Thomas Janis and/or knowingly aided and abetted or conspired to

   provide material support to the perpetrators of such acts. Defendants also aided, abetted,

   conspired, or otherwise engaged in or provided material support for the acts of international

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   terrorism, including but not limited to providing material support and/or aiding and abetting

   assistance to the FARC. This material support and/or aiding and abetting of acts of international

   terrorism allowed defendants to carry out the kidnapping, torture, and wrongful death of

   plaintiffs and specifically Thomas Janis.

   234.   Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

   murdered the Colombian soldier Luis Alcides Cruz and kidnapped and held hostage plaintiffs

   Keith Stansell, Marc Gonsalves and Tom Howes. Non-voluntary proof of life videotapes

   were created, communicated, and published in the United States for demands for

   demilitarized zones and prisoner exchanges. Defendants claimed responsibility for the

   murders and hostage taking.

   235.   Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

   236.   Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

   237.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   238.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.



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   239.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   240.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

   241.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

   commit further acts of international terror, engaging in a joint single enterprise to conduct

   international terrorism through illegal schemes, and/or the material support and sponsorship

   of international terrorism.

          WHEREFORE, Plaintiff, Greer Janis, demands judgment against all defendants,

   jointly and severally, for her past and future mental pain and suffering, anguish, emotional

   distress, loss of solatium, loss of companionship, society, affection, consortium and

   guidance, including treble damages under 18 U.S.C. 2333, plus interest, costs, attorneys fees,

   and such other monetary and equitable relief as this Honorable Court deems appropriate to

   compensate plaintiff.

                                          COUNT SEVEN
                              (Michael I. Janis against all defendants)
                                          18 U.S.C. § 2333

   242.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

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   243.   Plaintiff Michael I. Janis is a U.S. national injured by reason of an act of international

   terrorism and seeks damages under 18 U.S.C. § 2333. Michael Janis’ father Thomas Janis

   was murdered by defendants.

   244.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

          “(1) the term “international terrorism” means activities that--

                 (A) involve violent acts or acts dangerous to human life that are a
                 violation of the criminal laws of the United States or of any State, or
                 that would be a criminal violation if committed within the jurisdiction
                 of the United States or of any State;

                 (B) appear to be intended--
                        (i) to intimidate or coerce a civilian population;
                        (ii) to influence the policy of a government by intimidation or
                        coercion; or
                        (iii) to affect the conduct of a government by mass destruction,
                        assassination, or kidnapping; and

                 (C) occur primarily outside the territorial jurisdiction of the United
                 States, or transcend national boundaries in terms of the means by
                 which they are accomplished, the persons they appear intended to
                 intimidate or coerce, or the locale in which their perpetrators operate
                 or seek asylum.”

   245.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Thomas Janis was

   pilot and aircraft commander on board the aircraft on February 13, 2003.

   246.   All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

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   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, was

   captured and then shot and killed by FARC members shortly after the crash landing, and his

   body left a short distance from the damaged plane.

   247.    Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Michael Janis by killing his father Thomas Janis.

   248.    Individual defendants committed these acts directly against plaintiff Michael Janis

   injuring him by killing his father Thomas Janis or conspired to commit acts to provide

   logistics, financing, safe houses and safe havens, transportation, communications, funds,

   transfer of funds, other in kind material benefit, false documentation or identification

   including alias names, weapons, explosives, non-medical training, ammunition, and

   chemicals required to produce cocaine to further terrorist activity of the terrorist organization

   FARC.

   249.    Defendants murdered Thomas Janis and/or knowingly aided and abetted or conspired to

   provide material support to the perpetrators of such acts. Defendants also aided, abetted,

   conspired, or otherwise engaged in or provided material support for the acts of international

   terrorism, including but not limited to providing material support and/or aiding and abetting

   assistance to the FARC. This material support and/or aiding and abetting of acts of international

   terrorism allowed defendants to carry out the kidnapping, torture, and wrongful death of

   plaintiffs and specifically Thomas Janis.

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   250.   Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

   murdered the Colombian soldier Luis Alcides Cruz and kidnapped and held hostage plaintiffs

   Keith Stansell, Marc Gonsalves and Tom Howes. Non-voluntary proof of life videotapes

   were created, communicated, and published in the United States for demands for

   demilitarized zones and prisoner exchanges. Defendants claimed responsibility for the

   murders and hostage taking.

   251.   Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

   252.   Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

   253.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   254.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.

   255.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   256.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

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   257.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

   commit further acts of international terror, engaging in a joint single enterprise to conduct

   international terrorism through illegal schemes, and/or the material support and sponsorship

   of international terrorism.

          WHEREFORE, Plaintiff, Michael Janis, demands judgment against all defendants,

   jointly and severally, for his past and future mental pain and suffering, anguish, emotional

   distress, loss of solatium, loss of companionship, society, affection, consortium and

   guidance, including treble damages under 18 U.S.C. 2333, plus interest, costs, attorneys fees,

   and such other monetary and equitable relief as this Honorable Court deems appropriate to

   compensate plaintiff.

                                        COUNT EIGHT
                             (Jonathan N. Janis against all defendants)
                                         18 U.S.C. § 2333

   258.   Plaintiff adopts and incorporates the allegations and facts contained in prior

   paragraphs and in allegations common to all counts.

   259.   Plaintiff Jonathan N. Janis is a U.S. national injured by reason of an act of

   international terrorism and seeks damages under 18 U.S.C. § 2333. Jonathan Janis’ father

   Thomas Janis was murdered by defendants.

   260.   Plaintiff was victimized by acts of "international terrorism" as defined by 18 U.S.C. §

   2331(1) which states:

                                                                                                    64
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          “(1) the term “international terrorism” means activities that--

                 (A) involve violent acts or acts dangerous to human life that are a
                 violation of the criminal laws of the United States or of any State, or
                 that would be a criminal violation if committed within the jurisdiction
                 of the United States or of any State;

                 (B) appear to be intended--
                        (i) to intimidate or coerce a civilian population;
                        (ii) to influence the policy of a government by intimidation or
                        coercion; or
                        (iii) to affect the conduct of a government by mass destruction,
                        assassination, or kidnapping; and

                 (C) occur primarily outside the territorial jurisdiction of the United
                 States, or transcend national boundaries in terms of the means by
                 which they are accomplished, the persons they appear intended to
                 intimidate or coerce, or the locale in which their perpetrators operate
                 or seek asylum.”

   261.   On February 13, 2003, members of the FARC opened fire on a U.S. registered aircraft

   as it was flying over southern Colombia on a counter-narcotics surveillance mission. The

   plane was crewed by four U.S. nationals employed by California Microwave Systems (a

   subsidiary of Northrop Grumman), and one Colombian soldier. Plaintiff Thomas Janis was

   pilot and aircraft commander on board the aircraft on February 13, 2003.

   262.   All five occupants of the plane survived a crash-landing, but were immediately taken

   captive by FARC terrorists who quickly located and continued to fire automatic weapons on

   the aircraft and crew of the downed plane. The U.S national pilot, Thomas Janis, was

   captured and then shot and killed by FARC members shortly after the crash landing, and his

   body left a short distance from the damaged plane.

   263.   Defendant, REVOLUTIONARY ARMED FORCES OF COLOMBIA (“FARC”), or

   in Spanish FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, is a designated

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   foreign terrorist organization pursuant to Title 8, United States Code, Section 1189 originally

   designated on October 8, 1997 and re-designated on September 5, 2001 and committed these

   acts directly against the plaintiff Jonathan Janis by killing his father Thomas Janis.

   264.    Individual defendants committed these acts directly against plaintiff Jonathan Janis

   injuring him by killing his father Thomas Janis or conspired to commit acts to provide

   logistics, financing, safe houses and safe havens, transportation, communications, funds,

   transfer of funds, other in kind material benefit, false documentation or identification

   including alias names, weapons, explosives, non-medical training, ammunition, and

   chemicals required to produce cocaine to further terrorist activity of the terrorist organization

   FARC.

   265.    Defendants murdered Thomas Janis and/or knowingly aided and abetted or conspired to

   provide material support to the perpetrators of such acts. Defendants also aided, abetted,

   conspired, or otherwise engaged in or provided material support for the acts of international

   terrorism, including but not limited to providing material support and/or aiding and abetting

   assistance to the FARC. This material support and/or aiding and abetting of acts of international

   terrorism allowed defendants to carry out the kidnapping, torture, and wrongful death of

   plaintiffs and specifically Thomas Janis.

   266.    Defendants specifically targeted U.S nationals as terrorist targets, shot down a U.S.

   registered aircraft performing a counter-narcotics mission, then murdered its pilot Tom Janis,

   murdered the Colombian soldier Luis Alcides Cruz and kidnapped and held hostage plaintiffs

   Keith Stansell, Marc Gonsalves and Tom Howes. Non-voluntary proof of life videotapes

   were created, communicated, and published in the United States for demands for

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   demilitarized zones and prisoner exchanges. Defendants claimed responsibility for the

   murders and hostage taking.

   267.   Defendants’ activities involved violent and dangerous acts to human life that were,

   and are, a violation of the criminal laws of the United States or of any State.

   268.   Defendants’ acts were intended to intimidate or coerce the Colombian and United

   States civilian population, to influence policy of the U.S. Government by intimidation or

   coercion, and to affect the conduct of a government by kidnapping, hostage taking and

   assassination.

   269.   Defendants' activities occurred outside the territorial jurisdiction of the United States

   and transcend international boundaries.

   270.   Defendants’ acts are therefore acts of international terrorism as defined under 18

   U.S.C. §2331 and §2333.

   271.   Defendants’ acts and their participation in the terrorist conspiracy are “terrorism” and

   “terrorist activity” under 18 U.S.C. §2339.

   272.   Defendants intentionally and purposefully hid and concealed their true identities,

   physical whereabouts and their involvement in the FARC terrorist activities, including

   hostage taking, kidnapping, killing and imprisoning Plaintiffs.

   273.   As a terrorist organization, or as members of a terrorist organization and criminal

   conspiracy, defendants are all terrorist parties who proximately caused the death and injuries

   described herein and are all jointly and severally liable for the terrorist acts, including acts of

   international terrorism, the aiding and abetting of international terrorism, conspiring to

   commit further acts of international terror, engaging in a joint single enterprise to conduct

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         international terrorism through illegal schemes, and/or the material support and sponsorship
         of international terrorism.

                WHEREFORE, Plaintiff, Jonathan Janis, demands judgment against all defendants,

         jointly and severally, for his past and future mental pain and suffering, anguish, emotional

         distress, loss of solatium, loss of companionship, society, affection, consortium and

         guidance, including treble damages under 18 V.S.C. 2333, plus interest, costs, attorneys fees,

         and such other monetary and equitable relief as this Honorable Court deems appropriate to

         compensate plaintiff.



         DATED:
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